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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


  DONALD F. BROWNE, JR., on behalf of                   Case No.
  himself and all others similar situated,
                                                        CLASS ACTION COMPLAINT
                                 Plaintiff,
                           v.                           JURY TRIAL DEMANDED

  US FERTILITY, LLC, SHADY GROVE
  REPRODUCTIVE SERVICE CENTER, P.C.
  d/b/a “Shady Grove Fertility”, and AMULET
  CAPITOL PARTNERS, LP,

                                Defendants.


                                        INTRODUCTION

       1.       This is a proposed class action arising from the facts described in the form notice

attached hereto as Attachment A, which was sent by US Fertility, LLC on or about January 8,

2021, describing the 2020 data breach and theft of Patient Personal Information (“PPI”) and Master

Patient Index (“MPI”) information relating to current and former patients at Shady Grove Fertility

clinics and other medical facilities.

       2.       As alleged in greater detail herein, the gravamen of this case is that:

                (a)    Defendants failed to take reasonable steps to safeguard and protect
                       electronically stored PPI and MPI information of the class from the
                       foreseeable risk of a ransomware attack and data breach by hackers;

                (b)    Defendants negligently failed to take reasonable steps to detect the data
                       breach and data theft in real time, or as close to real time as reasonably
                       possible, and instead Defendants failed to even discover the incursion and
                       theft for up to a month after it occurred;

                (c)     Defendants waited three months after Defendants had already discovered
                       the breach and theft before notifying the class that their PPI and MPI data
                       had been breached and stolen, thereby depriving Plaintiff and the class of a
                       timely notice of the breach and preventing them from the opportunity to
                       take mitigating steps to lessen the impact of that breach for three months;


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                          and

                   (d)    that the offer of 12 months free credit monitoring by Defendants in the
                          Attachment A form notice is a wholly inadequate remedy in light of the
                          damages suffered by the class, the current and future costs of remediation
                          by the class, and the culpability of the Defendants.

          3.       Plaintiff seeks certification of a main class composed of all recipients of the

Attachment A form notice in the United States and certification of three sub-classes, one composed

of Shady Grove Fertility patients who treated at a Shady Grove clinic in Pennsylvania, one

composed of Shady Grove Fertility patients who treated at a Shady Grove Fertility clinic in

Maryland, and one composed of New Jersey residents who treated at any Shady Grove Fertility

clinic.

          4.       Plaintiff brings claims on behalf of the main class and sub-classes under various

statutory, breach of implied contract, and negligence theories arising under state laws governing

storage of the PPI/MPI of the members of the applicable classes.

                                    JURISDICTION AND VENUE

          5.       This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

of 2005, 28 U.S.C. § 1332(d)(2), because the aggregate amount in controversy exceeds $5 million,

exclusive of interest and costs; and minimal diversity exists because Plaintiff and the Defendants

are citizens of different states.

          6.       This Court has personal jurisdiction over Defendants as each Defendant conducts

substantial business in Pennsylvania, including operation of several Shady Grove Fertility clinics

in Pennsylvania, with electronically stored PPI and MPI records being generated and stored by

Defendants, inter alia, in Pennsylvania.

          7.       Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the conduct alleged in this Complaint occurred in, and/or



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emanated from Shady Grove Fertility clinics located within the Eastern District of Pennsylvania,

and because Plaintiff was treated at, and billed by, a Shady Grove Fertility clinic located, inter alia,

in the Eastern District of Pennsylvania.

                                            THE PARTIES

        8.       Plaintiff Donald F. Browne, Jr. is a New Jersey citizen who resides in Blackwood,

New Jersey, who was treated at Shady Grove Fertility clinics in both Pennsylvania and Maryland.

Like every class member, Browne received the Attachment A form notice from Defendants

notifying him of the data breach and theft of his PPI and MPI information.

        9.       Defendant US Fertility, LLC (“US Fertility”) is a citizen of Maryland with its

principal place of business and headquarters located at 9600 Blackwell Road, Suite 500, Rockville,

Maryland 20850-3655. US Fertility was jointly formed, and is owned and managed by, Shady

Grove Fertility, LLC and Amulet Capital Partners, LP and was created to, inter alia, provide IT

services to Shady Grove Fertility and to manage, store and safeguard PPI relating to Shady Grove

Fertility patients, as well as the patients of other fertility clinics.

        10.      Shady Grove Reproductive Science Center, P.C. d/b/a “Shady Grove Fertility”

(“Shady Grove Fertility”) is a Maryland professional corporation with its headquarters and

principal place of business located at 9600 Blackwell Road, Floor 5, Rockville, Maryland 20850-

3655.

        11.      Amulet Capital Partners, LP (“Amulet”) is organized under the laws of the State of

Connecticut with its headquarters and principal place of business located at 1 Lafayette Place,

Greenwich, Connecticut 06830.

        12.      Together, Shady Grove Fertility and Amulet formed US Fertility to, inter alia,

provide IT services to Shady Grove Fertility and to manage, store and safeguard PPI and MPI




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information relating to Shady Grove Fertility patients, as well as other fertility clinics.

       13.     Together, Shady Grove Fertility and Amulet jointly own, manage, and operate US

Fertility and so dominate US Fertility as to render US Fertility indistinguishable to Plaintiff or

other Shady Grove patients.

       14.      US Fertility shares a headquarters and principal place of business with Shady

Grove Fertility, as well as executives and officers. Shady Grove Fertility and US Fertility share

employees of US Fertility and are assigned work on a regular basis at Shady Grove Fertility clinics

owned by Shady Grove Fertility.

                        FACTS GIVING RISE TO THE CLASS CLAIMS

       15.     Defendant Shady Grove Fertility describes itself in various media as “the largest

physician-owned, physician-led partnership of top-tier fertility practices in the U.S.”, with

fertility clinics in Maryland, Pennsylvania, New York, Virginia, Georgia and Washington, D.C.

       16.     As part of its duties, US Fertility was formed by Defendant Shady Grove Fertility

and Defendant Amulet for the purpose of, inter alia, providing IT services to Shady Grove Fertility

and to manage, store and safeguard PI relating to Shady Grove Fertility patients.

       17.     As part of its services, Shady Grove Fertility collected and electronically stored

confidential PPI relating to patients, including names, social security numbers, patient numbers,

dates of birth and information which forms the “Master Patient Index,” or MPI, which is an

electronic database that holds demographic information on every patient which allows users to

match and link medical records by unique identifying characteristics of patients, including race

and ethnicity, current address, contact information, insurance information, and other similar

identifying elements.

       18.     Plaintiff Donald F. Browne, Jr. was a patient who treated at Shady Grove Fertility




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clinics in both Maryland and Pennsylvania. Among the PPI and MPI information collected and

stored by Defendants were Plaintiff’s name, social security number, patient number, date of birth,

race, ethnicity, eye color, and other unique information which forms the “Master Patient Index,”

or MPI, information intended to identify Plaintiff specifically as opposed to any other person with

the same or a similar name.

       19.     On or about January 8, 2021, Defendants sent out a form notice to current and

former patients at Shady Grove Fertility clinics in various states, including Plaintiff, stating that in

or around sometime September 14, 2020, Defendants had discovered that US Fertility had been

the victim of a data breach and ransomware attack at some point between August 12, 2020 and

September 12, 2020 and that electronically stored Patient Personal Information and information

from the Master Patient Index, held by US Fertility relating to Shady Grove Fertility patients had

been accessed and “acquired” by unauthorized and unidentified users. See Attachment A.

       20.     That form notice did not provide other information about the breach, including why

it took Defendants as long a month – between August 12, 2020 and September 12, 2020 – to even

realize that patient PPI and MPI information had been improperly accessed and acquired. Id.

       21.     Nor did the form notice indicate why Defendants waited from September 14, 2020

until January 2021 to notify Plaintiff and the class of the breach and theft of their data. Id.

       22.     The packet included with this form notice also offered recipients twelve months of

free credit monitoring by Trans Union. Id.

       23.     As outlined in greater detail below, this offer is not an adequate remedy for the

ascertainable loss suffered by the class due to the of loss of their private and confidential

information, which included the loss of information contained regarding class members in the

Master Patient Index, or the out-of-pocket expenses and the value of the time they reasonably have




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incurred or will incur trying to remedy or mitigate the effects of the breach.

       24.     Indeed, it is not clear how credit monitoring by Trans Union, a credit reporting

agency, will benefit or make whole class members who have had information relating to them

previously held in the Master Patient Index stolen.

       25.     At all times relevant hereto, Defendants were aware of the need to safeguard patient

PPI and information contained in the Master Patient Index, a duty which is especially strong given

HIPAA mandates.

       26.     Defendants had obligations created by contract, statute, industry standards,

common law, and representations made to Plaintiff and class members to keep their PPI and MPI

information confidential and to protect it from unauthorized access and disclosure.

       27.     The potential for improper disclosure of Plaintiff’s and Class Members’ PPI and

Master Patient Index information was a risk well known to Defendants, and thus Defendants were

on notice that the failure to take steps necessary to secure the PPI and MPI information from those

risks left that information in a dangerous and vulnerable condition.

       28.     Despite the fact that the threat of a data breach had been a well-known risk to

Defendants, especially due to the valuable and sensitive nature of the data Defendants collect, store

and maintain on medical patients, Defendants failed to take reasonable steps to adequately protect

the PPI and MPI information of current and former patients of Shady Grove Fertility.

       29.     The data breach described herein was a direct result of Defendants’ failure to

implement adequate and reasonable cyber-security procedures and protocols necessary to protect

PPI and MPI information.

       30.     This fact is demonstrated by Defendants’ own written admission in the Attachment

A form notice that it took Defendants as long as a month to even recognize that the breach had




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occurred and the PPI and MPI information had been stolen.

       31.      Defendants had the resources necessary to prevent a data breach of the type which

occurred but neglected to adequately invest in security measures, despite its obligation to protect

such information.

       32.      Moreover, Defendants had the resources necessary to immediately detect a data

incursion and theft in real time, and to give immediate notice to the class of such a breach, but

Defendants neglected to adequately invest in security measures which would have immediately

detected the breach and theft, despite their obligation to do so.

       33.      Accordingly, Defendants breached their common law, statutory, and other duties

owed to Plaintiff and class.

       34.      Defendants’ duty to use reasonable security measures also arose under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce”, including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data by entities like Defendants.

       35.      The Federal Trade Commission (FTC) has established data security principles and

practices for businesses as set forth in its publication, Protecting Personal Information: A Guide

for Business.

       36.      Among other things, the FTC states that companies should encrypt information

stored on computer networks and dispose of consumer information that is no longer needed.

       37.      The FTC also says to implement policies for installing vendor-approved patches to

correct problems, and to identify operating systems.

       38.      Additionally, the FTC also recommends that companies understand their network’s

vulnerabilities and develop and implement policies to rectify security deficiencies.




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       39.     Further, the FTC recommends that companies utilize an intrusion detection system

to expose a data breach as soon as it occurs; monitor all incoming traffic for activity that might

indicate unauthorized access into the system; monitor large amounts of data transmitted from the

system; and have a response plan ready in the event of a data breach.

       40.     In another FTC publication, Start with Security: A Guide for Business, the FTC

recommends, among other things, that companies “make sure [third-party] service providers

implement reasonable security measures.”

       41.     The FTC has prosecuted a number of enforcement actions against companies for

failing to take measures to protect consumer data adequately and reasonably. The FTC has viewed

and treated such security lapses as an unfair act or practice prohibited by Section 5 of the Federal

Trade Commission Act (“FTCA”), 15 U.S.C. § 45.

       42.     The data breach and theft of PPI and Master Patient Index information in this case

was a direct and proximate result of Defendants’ failure to: (a) properly safeguard and protect

Plaintiff’s and class members’ personal patient information from unauthorized access, use, and

disclosure, as required by various state and federal regulations, industry practices, and common

law; (b) establish and implement reasonable and appropriate safeguards to immediately detect a

data incursion and theft of said information; (c) establish and implement reasonable and

appropriate safeguards to immediately notify Plaintiff and the class of such an incursion and theft,

and (d) protect against reasonably foreseeable threats to the security or integrity of such

information.

       43.     Defendants failed to maintain reasonable data security procedures and practices.

       44.     Defendants also failed to implement reasonable security procedures and practices

to detect and prevent cyber attackers from unauthorized access to its computer systems and




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network.

        45.     Defendants’ failure to maintain and implement reasonable and appropriate

measures to detect and protect against unauthorized access to consumer PI constitutes an unfair

act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

        46.     Accordingly, Defendants did not comply with legal state and federal law

requirements, as discussed herein.

        47.     Moreover, effective and economically practical methods exist for detecting cyber

incursions in real time, including computer malware detection software, safety protocols and other

cyber security techniques, which make it perfectly feasible to detect such a serious data breach of

patient PI/PPI in real time, or at least in far less than 30 days.

        48.     Indeed, as noted previously, the FTC has specifically advised those who hold

customer data to implement software and other measures that detect cyber intrusions in real time.

        49.     Such adequate malware detection software, safety protocols and techniques which

were not employed by Defendants and thus it took as long as 30 days for Defendants to even

recognize that a breach had occurred.

        50.     Further, even after the breach was detected, Defendants failed to take adequate and

reasonable steps to notify the class of the breach in a timely fashion. The notice sent by Defendants

to the class states expressly that Defendants knew by September 14, 2020 of the cyber breach and

the theft of data. Yet Defendants failed to notify Plaintiff and the class that there PPI and Master

Patient Index information had been stolen until January 2021; three months after Defendants knew

it had been stolen.

        51.     Had Plaintiff and the class been notified of the breach and theft earlier, they could

have taken certain steps to protect themselves between September and January such as credit




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freezes or other protective measures to deter and detect identity theft.

        52.     As a result of all of these failures, the PPI of Plaintiff and class members, including

the data relating to them stored in the Master Patient Index, is now in the hands of unknown persons

and can be used for unknown purposes for the foreseeable future.

        53.     Such persons may be cyber thieves, who now hold PPI and information from the

Master Patient Index which can now be sold on the Dark Web and used to commit identity theft

and fraud for the foreseeable future.

        54.     Armed with the PPI and Master Patient Index information accessed and acquired,

data thieves can commit a variety of crimes including, e.g., opening new financial accounts in class

members’ names, taking out loans in class members’ names, using class members’ information to

obtain government benefits (such as filing for unemployment benefits), filing fraudulent tax

returns using class members’ information, obtaining driver’s licenses in class members’ names but

with another person’s photograph, and giving false information to police during an arrest.

        55.     Defendants’ failure to implement and follow proper security procedures has

resulted in ongoing harm to Plaintiff and class members who will continue to experience a lack of

data security for the indefinite future and remain at serious risk of identity theft and fraud that

would result in significant monetary loss.

        56.     Plaintiff and class members may also incur out of pocket costs for, e.g., purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        57.     Defendants’ offer of twelve months of credit and identity monitoring services is an

acknowledgment by Defendants that the class are subject to an imminent threat of identity theft

and financial fraud.




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       58.      Yet, Defendants’ offer of 12 months of credit monitoring is an inadequate remedy

for the breach and theft.

       59.      Altering a birthdate is not possible. Altering a social security number is extremely

difficult, and even where it is possible, it is very expensive and time-consuming. Changing one’s

name and address is also burdensome and expensive.

       60.      Given these facts, while credit monitoring might be part of a remedy for a data

breach, an offer of only 12 months of free credit monitoring is not in any way adequate.

       61.      The names, addresses, birth dates and social security numbers stolen do not expire

in 12 months.

       62.      There is no guarantee that the stolen PPI and Master Patient Index information will

be used by the miscreants in the next 12 months.

       63.      Unless changed, this stolen PPI will continue to exist forever and allow for identity

theft 13 months from now, or 18 months from now, or 24 months from now.

       64.      Indeed, a GAO Report GAO-07-737 notes with regard to stolen personal data:

“once posted on the Web, fraudulent use of that information may continue for years.”

       65.      Furthermore, Defendants’ offer of 12 months of credit monitoring squarely places

the burden on Plaintiff and class members, rather than on the Defendants, to investigate and protect

themselves from Defendants’ tortious acts which resulted in the data breach.

       66.      Rather than automatically and immediately enrolling Plaintiff and class members

in identity theft and credit monitoring services upon discovery of the breach in September 2020,

Defendants waited until January 2021 to notify Plaintiff and the class, and even then the notice

merely sent merely states that Plaintiff and the class can sign up for the services.

       67.      Moreover, this case does not simply involve theft of mere customer data held by a




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retailer. This case involves the theft of confidential information relating to medical patients who

made the very personal and private decision to seek fertility treatment with every expectation that

this information would remain secure and confidential.

       68.     No one really cares if cyber thieves or hackers find out that a customer bought a

sweater at a department store. Many patients, however, care a great deal about the confidentiality

of their medical treatment, including the decision to seek fertility treatment in the first place.

       69.     Defendants themselves recognize this, with the Shady Grove Fertility website being

festooned with statements like “privacy is often a primary concern” and “Shady Grove

Fertility can ensure there are no leaks in the identity of donor or recipient identifiable

information,” and “Shady Grove Fertility has designed our anonymous Egg Donation

Program (for donors) and Donor Egg Program (for donor egg recipients) with a multitude

of safeguards to protect our patients’ privacy.”

       70.     These statements show that Defendants were fully aware of the fact that medical

patient information, particularly information relating to fertility treatment, were to be treated as

especially private and entitled to adequate protections.

       71.     This complaint aims at making sure that an adequate remedy is provided to Plaintiff

and the class by Defendants arising from the data breach and theft of PPI and Medical Patient

Index information relating to Shady Grove Fertility patients, one which places the burden on

Defendants, who are the parties whose failure to take reasonable safeguards and precautions

allowed the breach to happen in the first place, who failed to detect that breach for a month, and

then delayed notifying Plaintiff and the class of that breach for another three months.

                               CLASS ACTION ALLEGATIONS

       72.     Plaintiff brings this action as a class action pursuant to Fed.R.Civ.P. 23 on behalf




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of a proposed class (hereafter the “main class”) defined as:

             All persons in the United States to whom US Fertility sent a form notice
             which was identical or substantially similar to Attachment A.

       73.       Plaintiff also brings this action as a class action pursuant to Fed.R.Civ.P. 23 on

behalf of a proposed sub-class (hereafter the “Pennsylvania Sub-Class”) defined as:

             All persons to whom US Fertility sent a form notice which was identical
             or substantially similar to Attachment A and who were patients at a
             Shady Grove Fertility clinic located in Pennsylvania.

       74.       Plaintiff also brings this action as a class action pursuant to Fed.R.Civ.P. 23 on

behalf of a proposed sub-class (hereafter the “New Jersey Sub-Class”) defined as:

             All persons to whom US Fertility sent a form notice which was identical
             or substantially similar to Attachment A and who were New Jersey
             residents at the time they were treated at a Shady Grove Fertility clinic.

       75.       Each class and sub-class is so numerous that joinder of all members is

impracticable.

       76.       The exact number and identities of the persons who fit within the proposed classes

are either contained in Defendants’ records or can be ascertained from those records. It is alleged

that each proposed class or sub-class contains several thousand persons.

       77.       There are numerous common questions of law and fact affecting the rights of class

members, including inter alia:

                  (a)    Whether Defendants had a legal duty to implement and maintain
                         reasonable security procedures and practices for the protection of class
                         member PPI and MPI information;

                  (b)    Whether Defendant has a legal duty to implement and maintain reasonable
                         security procedures and practices to detect a data breach and theft in real
                         time (or at least sooner than 30 days);

                  (c)    Whether Defendant has a legal duty to implement and maintain reasonable
                         security procedures and practices to notify the class of the theft of their
                         data sooner than three months after it was detected by Defendants:



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                (d)     Whether Defendants breached their legal duty to implement and maintain
                        reasonable security procedures and practices for the protection of class
                        member PPI and MPI information;

                (e)     Whether Defendants’ conduct, practices, actions, inaction, and omissions,
                        resulted in or was the proximate cause of the data breach, resulting in the
                        loss of class member PPI and MPI information;

                (f)     Whether Defendants breached the duty to provide timely and accurate
                        notice of the data breach to Plaintiff and the classes;

                (g)     Whether and when Defendants knew or should have known that the
                        computer systems used to store class member PPI and MPI information
                        were vulnerable to attack;

                (h)     Whether Defendants failed to implement and maintain reasonable and
                        adequate security measures, procedures, and practices to safeguard class
                        member PPI and MPI information;

                (i)     Whether an implied contract existed between Defendants and the class
                        under which Defendants were required to take reasonable precautions to
                        safeguard class member PPI and MPI information;

                (j)     Whether Defendants breached that implied contract in failing to have
                        adequate data security measures;

                (k)     Whether Defendants had legal duty to implement and maintain reasonable
                        and adequate security measures, procedures, and practices to safeguard
                        class member PPI and MPI information; and

               (k)     Whether Defendants breached that legal duty and/or was negligent.

       78.     Plaintiff is a member of each class and sub-class he seeks to represent.

       79.     The claims of Plaintiff are not only typical of all class members, they are identical.

       80.     All claims of Plaintiff and the class arise from the same common course of conduct

and event and all claims are based on the exact same legal theories.

       81.     Plaintiff seeks the same relief for himself as for every other class member.

       82.     Plaintiff has no interest antagonistic to or in conflict with the classes.

       83.     Plaintiff will thoroughly and adequately protect the interests of the class, having




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retained qualified and competent legal counsel to represent himself and the class.

          84.   Defendants have acted and/or refused to act on grounds generally applicable to the

class, thereby making appropriate injunctive relief for each class as a whole.

          85.   The prosecution of separate actions by individual class members will create a risk

of inconsistent or varying adjudications, would as a practical matter be dispositive of the interests

of other members not parties to the adjudications, and would substantially impair or impede their

ability to protect their interests.

          86.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy.

          87.   Common questions will predominate, and there will be no unusual manageability

issues.

                                              COUNT I

                    NEGLIGENCE UNDER MARYLAND COMMON LAW

                    On Behalf of the Main Class and the Maryland Sub-Class

          88.   Plaintiff incorporates all prior paragraphs as if fully set forth herein.

          89.   Defendant required Plaintiff and the class to submit PPI and information for the

Master Patient Index in order to receive treatment at Shady Grove Fertility clinics located in, inter

alia, Maryland.

          90.   Regardless of whether the Shady Grove Fertility clinic in question was located in

Maryland or not, all such PPI and MPI information gathered at all Shady Grove Fertility clinics

was stored by Defendants in Rockville, Maryland at a US Fertility facility.

          91.   Thus, whether or not the information was initially gathered at a Shady Grove

Fertility clinic in Maryland, the storage of such data occurred in Maryland and the breach and theft




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of that data occurred in Maryland, and so the storage of all such PPI and MPI information was

subject to Maryland law.

       92.     Under Maryland law, Defendants had (and continue to have) a duty to Plaintiff and

the class to exercise reasonable care in safeguarding and protecting their PPI and MPI information.

       93.     Defendants also had (and continue to have) a duty to use ordinary care in activities

from which harm might be reasonably anticipated (such as in the storage and protection of PPI and

MPI information within their possession, custody and control).

       94.     Defendants’ duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant Shady Grove Fertility and its patients, and from the

knowledge that the data involved information about highly confidential fertility treatments which

patients had been promised strict confidentiality.

       95.     Only Defendants were in a position to ensure that their systems were sufficient to

protect against the harm to Plaintiff and the class members from a data breach.

       96.     Pursuant to the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45,

Defendants had a duty to provide fair and adequate computer systems and data security to safeguard

the personal and financial information of Plaintiff and Class Members.

       97.     The FTCA prohibits “unfair . . . practices in or affecting commerce,” including,

as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as Defendant,

of failing to use reasonable measures to protect the personal and financial information of Plaintiff

and Class Members. The FTC publications and orders described above also form part of the basis

of Defendants’ duty in this regard.

       98.     Defendant violated the FTCA by failing to use reasonable measures to protect the

personal and financial information of Plaintiff and Class Members and not complying with




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applicable industry standards, as described herein.

         99.    Plaintiff and class members are within the class of persons that the FTCA was

intended to protect.

         100.   The harm that occurred as a result of the Data Breach is the type of harm the FTCA

was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and Class Members.

         101.   Defendants violated these standards and duties by failing to exercise reasonable care

in safeguarding and protecting Plaintiff’s and class members’ PPI and MPI information by failing

to design, adopt, implement, control, direct, oversee, manage, monitor, and audit appropriate data

security processes, controls, policies, procedures, protocols, and software and hardware systems

to safeguard and protect the information entrusted to Defendants.

         102.   It was reasonably foreseeable to Defendants that its failure to exercise reasonable

care in safeguarding and protecting the PPI and MPI information of Plaintiff and the class would

result in the unauthorized release, disclosure, and dissemination of that information to unauthorized

users.

         103.   Defendants, by and through their negligent actions, inaction, omissions, and want

of ordinary care, unlawfully breached its duties to Plaintiff and the class by, among other things,

failing to exercise reasonable care in safeguarding and protecting PPI and MPI information relating

to Plaintiff and the class.

         104.   But for Defendants’ negligent breach of the above-described duties owed to

Plaintiff and the class, their PPI and Master Patient Index information would not have been

released, disclosed, and disseminated without their authorization.




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       105.    Plaintiff and the class have had their PPI and MPI information stolen, transferred, sold,

opened, viewed, mined and otherwise released, disclosed, and disseminated to unauthorized

persons without their authorization as the direct and proximate result of Defendants’ failure to

design, adopt, implement, control, direct, oversee, manage, monitor and audit their processes,

controls, policies, procedures and protocols for complying with the applicable laws and

safeguarding and protecting that information.

       106.    Defendants’ above-described wrongful actions, inaction, omissions, and want of

ordinary care that directly and proximately caused this data breach constitute negligence.

       107.    As a direct and proximate result of Defendants’ above-described wrongful actions,

inaction, omissions, and want of ordinary care that directly and proximately caused the data

breach, Plaintiff and the class have suffered (and will continue to suffer) ongoing, imminent, and

impending threat of identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss and

economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of the

compromised data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost work

time; and other economic and non-economic harm.

                                             COUNT II

      BREACH OF IMPLIED CONTRACT UNDER MARYLAND COMMON LAW

                  On Behalf of the Main Class and the Maryland Sub-Class

       108.    Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       109.    Defendants required Plaintiff and the class to submit PPI and information for the




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Master Patient Index in order to receive treatment at Shady Grove Fertility clinics located in, inter

alia, Maryland.

       110.    Regardless of whether the Shady Grove Fertility clinic in question was located in

Maryland or not, all such PPI and MPI information gathered at all Shady Grove Fertility clinics

was stored by Defendants in Rockville, Maryland at a US Fertility facility and the data was stolen

from that Maryland facility.

       111.    Thus, whether or not the information was gathered at a Shady Grove Fertility clinic

in Maryland, the storage of such data occurred in Maryland and the breach and theft of that data

occurred in Maryland, and so the storage of that PPI and MPI information is subject to Maryland

law.

       112.    Defendant Shady Grove Fertility promised Plaintiff and the class that their PPI and

MPI information would be protected, as well as promising to protect the confidentiality of the their

decision to seek fertility treatment. Such statements included statements on the Shady Grove

Fertility website that “privacy is often a primary concern” and “Shady Grove Fertility can

ensure there are no leaks in the identity of donor or recipient identifiable information,” and

“Shady Grove Fertility has designed our anonymous Egg Donation Program (for donors)

and Donor Egg Program (for donor egg recipients) with a multitude of safeguards to protect

our patients’ privacy.”

       113.    Under Maryland common law, there existed an implied contract between

Defendants and Plaintiff and each class member by which Defendants agreed to safeguard and

protect the PPI and MPI information of Plaintiff and the class and to keep such information secure

and confidential, and to timely and accurately notify Plaintiff and the class if their data had been

breached and compromised, or stolen.




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       114.    Defendants breached the implied contracts by failing to safeguard and protect the

PPI and MPI information of Plaintiff and the class, by failing to take adequate and reasonable steps

to detect a data incursion and theft in real time, and by failing to provide timely and accurate notice

to them that this information was compromised and stolen as a result of the data breach for three

months after it was known to Defendants.

       115.    As a direct and proximate result of Defendants’ above-described breach of implied

contract, Plaintiff and the class have suffered (and will continue to suffer) ongoing damages,

including imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in

monetary loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in

monetary loss and economic harm; loss of the confidentiality of the stolen confidential data; the

illegal sale of the compromised data on the dark web; expenses and/or time spent on credit

monitoring and identity theft insurance; time spent scrutinizing bank statements, credit card

statements, and credit reports; expenses and/or time spent initiating fraud alerts, decreased credit

scores and ratings; lost work time; and other economic and non-economic harm.

                                            COUNT III

         MARYLAND PERSONAL INFORMATION PROTECTION ACT (PIPA),
                     Md. Code Ann. Comm. Law 14-3504.

                   On Behalf of the Main Class and the Maryland Sub-Class

       116.    Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       117.    Defendant required Plaintiff and the class to submit PPI and information for the

Master Patient Index in order to receive treatment at Shady Grove Fertility clinics located in, inter

alia, Maryland.

       118.    Regardless of whether the Shady Grove Fertility clinic in question was located in

Maryland or not, all such PPI and MPI information gathered at all Shady Grove Fertility clinics



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was stored by Defendants in Rockville, Maryland at a US Fertility facility.

       119.     Thus, whether or not the information was gathered at a Shady Grove Fertility clinic

in Maryland, the storage of such data occurred in Maryland and the breach and theft of that data

occurred in Maryland, and so the storage of that PI, PPI and MPI information is subject to

Maryland law.

       120.     By and acts and omissions outlined herein, Defendants have violated Md. Code

Ann. Comm. Law § 14-3503 by failing to protect personal information from unauthorized access,

use, modification, or disclosure, and failing to implement and maintain reasonable security

procedures and practices that are appropriate to the nature of the personal information owned or

licensed and the nature and size of the business and its operations.

       121.     Under Md. Code Ann. Comm. Law § 14-3508, these violations of PIPA constitute

unfair or deceptive trade practice within the meaning of Title 13.

       122.     By the acts and omissions outlined herein, Defendants have violated Md. Code

Ann. Comm. Law § 14-350 and § 14-3506 by failing to give notice of the without unreasonable

delay, in that Defendants waited from September 12, 2020 until January 2021 to give notice of the

breach and data theft.

       123.     These violations are both a cause in fact and proximate cause of damages suffered

by Plaintiff and the class, including imminent, and impending threat of identity theft crimes, fraud,

and abuse, resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; loss of the confidentiality of the stolen

confidential data; the illegal sale of the compromised data on the dark web; expenses and/or time

spent on credit monitoring and identity theft insurance; time spent scrutinizing bank statements,

credit card statements, and credit reports; expenses and/or time spent initiating fraud alerts,




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decreased credit scores and ratings; lost work time; and other economic and non-economic harm.

                                            COUNT IV

               NEGLIGENCE UNDER PENNSYLVANIA COMMON LAW

                            On Behalf of the Pennsylvania Sub-Class

       124.    Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       125.    Defendants required Plaintiff and the Pennsylvania sub-class to submit PPI and

information for the Master Patient Index in order to receive treatment at Shady Grove Fertility

clinics located in Pennsylvania.

       126.    By gathering such PPI in Pennsylvania, Defendants consented to the application of

Pennsylvania law to the storage of data collected from patients at such Pennsylvania clinics.

       127.    Under Pennsylvania law, Defendants had (and continue to have) a duty to Plaintiff

and the Pennsylvania sub-class to exercise reasonable care in safeguarding and protecting the PPI

and MPI information collected by Defendants at Pennsylvania clinics. See e.g., Dittman v. UPMC,

196 A.3d 1036 (Pa. 2018).

       128.    Defendants also had (and continue to have) a duty to use ordinary care in activities

from which harm might be reasonably anticipated (such as in the storage and protection of PPI and

MPI information within their possession, custody and control).

       129.    Defendants’ duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant Shady Grove Fertility and its patients, and from the

knowledge that the data involved information about highly confidential fertility treatments which

patients had been promised strict confidentiality.

       130.    Only Defendants were in a position to ensure that their systems were sufficient to

protect against the harm to Plaintiff and the Pennsylvania sub-class members from a data breach.




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       131.    Defendants violated these standards and duties by failing to exercise reasonable

care in safeguarding and protecting the PPI and MPI information of Plaintiff and the Pennsylvania

sub-class by failing to design, adopt, implement, control, direct, oversee, manage, monitor, and

audit appropriate data security processes, controls, policies, procedures, protocols, and software

and hardware systems to safeguard and protect the information entrusted to Defendants.

       132.    It was reasonably foreseeable to Defendants that its failure to exercise reasonable

care in safeguarding and protecting the PPI and MPI information of Plaintiff and the Pennsylvania

sub-class would result in the unauthorized release, disclosure, and dissemination of that

information to unauthorized users.

       133.    Defendants, by and through their negligent actions, inaction, omissions, and want

of ordinary care, unlawfully breached its duties to Plaintiff and the Pennsylvania sub-class by,

among other things, failing to exercise reasonable care in safeguarding and protecting PPI and MPI

information relating to Plaintiff and the Pennsylvania sub-class, failing to employ reasonable

measures to detect a data breach in real time, and failing to give Plaintiff and the Pennsylvania

sub-class timely notice of the breach until three months after it was known to Defendants.

       134.    But for Defendants’ negligent breach of the above-described duties owed to

Plaintiff and the Pennsylvania sub-class, their PPI and Master Patient Index information would not

have been released, disclosed, and disseminated without their authorization, and/or Plaintiff and

the Pennsylvania sub-class could have taken preemptive steps to minimize the damages caused by

the theft sooner than three months or more after the information was stolen.

       135.    Plaintiff and the Pennsylvania sub-class have had their PPI and MPI information

stolen, transferred, sold, opened, viewed, mined and otherwise released, disclosed, and

disseminated to unauthorized persons without their authorization as the direct and proximate result




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of Defendants’ failure to design, adopt, implement, control, direct, oversee, manage, monitor and

audit their processes, controls, policies, procedures and protocols for complying with the

applicable laws and safeguarding and protecting that information.

       136.     Defendants’ above-described wrongful actions, inaction, omissions, and want of

ordinary care that directly and proximately caused this data breach constitute negligence.

       137.     As a direct and proximate result of Defendants’ above-described wrongful actions,

inaction, omissions, and want of ordinary care that directly and proximately caused the data breach,

Plaintiff and the Pennsylvania sub-class have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit

reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost

work time; and other economic and non-economic harm.

                                              COUNT V

   BREACH OF IMPLIED CONTRACT UNDER PENNSYLVANIA COMMON LAW

                            On Behalf of the Pennsylvania Sub-Class

       138.     Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       139.     Defendants required Plaintiff and the class to submit PI, PPI and information for

the Master Patient Index in order to receive treatment at Shady Grove Fertility clinics located in

Pennsylvania.

       140.     By gathering PPI in Pennsylvania, Defendants consented to the application of




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Pennsylvania law to the protection of PPI collected at such Pennsylvania clinics.

       141.    Defendant Shady Grove Fertility promised Plaintiff and the Pennsylvania sub-class

that their PPI and MPI information collected in Pennsylvania would be protected, as well as

promising to protect the confidentiality of the their decision to seek fertility treatment. Such

statements included statements on the Shady Grove Fertility website that “privacy is often a

primary concern” and “Shady Grove Fertility can ensure there are no leaks in the identity

of donor or recipient identifiable information,” and “Shady Grove Fertility has designed our

anonymous Egg Donation Program (for donors) and Donor Egg Program (for donor egg

recipients) with a multitude of safeguards to protect our patients’ privacy.”

       142.    Under Pennsylvania common law, there existed an implied contract between

Defendants and Plaintiff and the Pennsylvania sub-class under which Defendants agreed to

safeguard and protect the PPI and MPI information of Plaintiff and the Pennsylvania sub-class and

to keep such information secure and confidential, and to timely and accurately notify Plaintiff and

the Pennsylvania sub-class if their data had been breached and compromised, or stolen. See e.g.

Dittman v. UPMC, 196 A.3d 1036 (Pa. 2018).

       143.    Defendants breached those implied contracts by failing to safeguard and protect the

PPI and MPI information of Plaintiff and the Pennsylvania sub-class and by failing to provide

timely and accurate notice to them that this information was compromised and stolen as a result

of the data breach.

       144.    As a direct and proximate result of Defendants’ above-described breach of implied

contract, Plaintiff and the Pennsylvania sub-class have suffered (and will continue to suffer)

ongoing damages, including imminent, and impending threat of identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and abuse,




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resulting in monetary loss and economic harm; loss of the confidentiality of the stolen confidential

data; the illegal sale of the compromised data on the dark web; expenses and/or time spent on

credit monitoring and identity theft insurance; time spent scrutinizing bank statements, credit card

statements, and credit reports; expenses and/or time spent initiating fraud alerts, decreased credit

scores and ratings; lost work time; and other economic and non-economic harm.

                                            COUNT VI

                 NEGLIGENCE UNDER NEW JERSEY COMMON LAW

                             On Behalf of the New Jersey Sub-Class

       145.    Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       146.    Defendants required Plaintiff and other New Jersey residents to submit PPI and

information for the Master Patient Index in order to receive treatment at Shady Grove Fertility

clinics located in other states such as Pennsylvania and Maryland.

       147.    At the time this PPI was collected from patients, Defendants were aware whenever

such information related to New Jersey residents. By knowingly choosing to collect PPI from New

Jersey residents, Defendants consented to the application of New Jersey law to the protection and

safe storage of such data.

       148.    Under New Jersey law, Defendants had (and continue to have) a duty to Plaintiff

and the New Jersey sub-class to exercise reasonable care in safeguarding and protecting the PPI

and MPI information collected by Defendants from New Jersey citizens.

       149.    Defendants also had (and continue to have) a duty to use ordinary care in activities

from which harm might be reasonably anticipated (such as in the storage and protection of PPI and

MPI information within their possession, custody and control).

       150.    Defendants’ duty to use reasonable security measures arose as a result of the special




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relationship that existed between Defendant Shady Grove Fertility and its patients, and from the

knowledge that the data involved information about highly confidential fertility treatments which

patients had been promised strict confidentiality.

       151.    Only Defendants were in a position to ensure that their systems were sufficient to

protect against the harm to Plaintiff and the class members from a data breach.

       152.    Defendants violated these standards and duties by failing to exercise reasonable

care in safeguarding and protecting the PPI and MPI information of Plaintiff and New Jersey sub-

class members by failing to design, adopt, implement, control, direct, oversee, manage, monitor,

and audit appropriate data security processes, controls, policies, procedures, protocols, and

software and hardware systems to safeguard and protect the information entrusted to Defendants.

       153.    It was reasonably foreseeable to Defendants that its failure to exercise reasonable

care in safeguarding and protecting the PPI and MPI information of Plaintiff and the New Jersey

sub-class would result in the unauthorized release, disclosure, and dissemination of that

information to unauthorized users.

       154.    Defendants, by and through their negligent actions, inaction, omissions, and want

of ordinary care, unlawfully breached its duties to Plaintiff and the New Jersey sub-class by, among

other things, failing to exercise reasonable care in safeguarding and protecting PPI and MPI

information relating to Plaintiff and the New Jersey sub-class.

       155.    But for Defendants’ negligent breach of the above-described duties owed to

Plaintiff and the New Jersey sub-class, their PPI and Master Patient Index information would not

have been released, disclosed, and disseminated without their authorization.

       156.    Moreover, but for Defendants’ negligent failure to detect the breach and theft until

a month after it occurred, and Defendants’ negligent failure to notify Plaintiff and the New Jersey




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sub-class until three months after the breach and theft was detected by Defendants, Plaintiff and

the New Jersey sub-class could have taken steps to help minimize the damages caused by the

breach and theft; steps which are far less effective when they are taken three months after the theft

has occurred.

       157.     Plaintiff and the New Jersey sub-class have had their PPI and MPI information

stolen, transferred, sold, opened, viewed, mined and otherwise released, disclosed, and

disseminated to unauthorized persons without their authorization as the direct and proximate result

of Defendants’ failure to design, adopt, implement, control, direct, oversee, manage, monitor and

audit their processes, controls, policies, procedures and protocols for complying with the

applicable laws and safeguarding and protecting that information.

       158.     Defendants’ above-described wrongful actions, inaction, omissions, and want of

ordinary care that directly and proximately caused this data breach constitute negligence.

       159.     As a direct and proximate result of Defendants’ above-described wrongful actions,

inaction, omissions, and want of ordinary care that directly and proximately caused the data breach,

Plaintiff and the New Jersey sub-class have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit

reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings;

lost work time; and other economic and non-economic harm.




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                                            COUNT VII

     BREACH OF IMPLIED CONTRACT UNDER NEW JERSEY COMMON LAW

                             On Behalf of the New Jersey Sub-Class

       160.    Plaintiff incorporates all prior paragraphs as if fully set forth herein.

       161.    Defendants required Plaintiff and other New Jersey residents to submit PPI and

information for the Master Patient Index in order to receive treatment at Shady Grove Fertility

clinics located in other states such as Pennsylvania and Maryland.

       162.    At the time this PPI was collected from patients, Defendants were aware whenever

such information related to New Jersey residents. By knowingly choosing to collect PPI from

New Jersey residents, Defendants consented to the application of New Jersey law to the

protection and safe storage of such data.

       163.    Defendant Shady Grove Fertility promised Plaintiff and the New Jersey sub-class

that their PPI and MPI information would be protected, as well as promising to protect the

confidentiality of the their decision to seek fertility treatment. Such statements included statements

on the Shady Grove Fertility website that “privacy is often a primary concern” and “Shady

Grove Fertility can ensure there are no leaks in the identity of donor or recipient identifiable

information,” and “Shady Grove Fertility has designed our anonymous Egg Donation

Program (for donors) and Donor Egg Program (for donor egg recipients) with a multitude

of safeguards to protect our patients’ privacy.”

       164.    Under New Jersey common law, there existed an implied contract between

Defendants and Plaintiff and each New Jersey sub-class member under which Defendants agreed

to safeguard and protect the PPI and MPI information of Plaintiff and the New Jersey sub-class

and to keep such information secure and confidential, and to timely and accurately notify Plaintiff




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and the New Jersey sub-class if their data had been breached and compromised, or stolen.

       165.    Defendants breached those implied contracts by failing to safeguard and protect the

PPI and MPI information of Plaintiff and the New Jersey sub-class by failing to provide timely

and accurate notice to them that this information was compromised and stolen as a result of the

data breach.

       166.    As a direct and proximate result of Defendants’ above-described breach of implied

contract, Plaintiff and the New Jersey sub-class have suffered (and will continue to suffer) ongoing

damages, including imminent, and impending threat of identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; loss of the confidentiality of the stolen confidential

data; the illegal sale of the compromised data on the dark web; expenses and/or time spent on

credit monitoring and identity theft insurance; time spent scrutinizing bank statements, credit card

statements, and credit reports; expenses and/or time spent initiating fraud alerts, decreased credit

scores and ratings; lost work time; and other economic and non-economic harm.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of the members of the Classes defined above,

 respectfully requests that this Court:

      A. Certify this case as a class action under Federal Rule of Civil Procedure 23, appoint
         Plaintiff as class representative, and appoint the undersigned as Class counsel;

      B. Order appropriate relief to Plaintiff and the Classes;

      C. Enter injunctive and declaratory relief as appropriate under the applicable law;

      D. Award Plaintiff and the Classes pre-judgment and/or post-judgment interest as
         prescribed by law;

      E. Award reasonable attorneys’ fees and costs as permitted by law; and




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      F. Enter such other and further relief as may be just and proper.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

himself and all others similarly situated, demands a trial by jury on all questions of fact raised by

the Complaint.

Dated: January 27, 2021                               DeNITTIS OSEFCHEN PRINCE, P.C.



                                                      __________________________________
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